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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.                                                                       No. CR-03-2112 MV

 JORGE TORRES-LARANEGA, et al.,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Edgar Lopez-Hernandez’s Motion

to Sever Defendants [Doc. No. 208], filed April 19, 2004, Defendant Jose Francisco Diaz’s Notice

of Joinder [Doc. No. 323], filed October 5, 2004 and Defendant Jorge Torres-Laranega’s Notice of

Joining Codefendant Edgar Lopez-Hernandez’ pending motions [Doc. No. 340], filed October 6,

2004. The Court, having considered the motions, briefs, relevant law and being otherwise fully

informed, finds that Lopez-Hernandez’s Motion to Sever Defendants is well taken and will be

GRANTED.

                                        BACKGROUND

       Lopez-Hernandez is charged in Count II of the Fourth Superseding Indictment with

conspiracy to possess with intent to distribute 1,000 kilograms and more of a mixture and substance

containing a detectable amount of marijuana within 1,000 feet of a school and within 1,000 feet of

a truck stop. In Count III, Defendant Edgar Lopez is charged along with codefendant Jorge Torres-

Laranega with possession with intent to distribute 1,000 kilograms and more of a mixture and

substance containing a detectable amount of marijuana and aiding and abetting. Although Lopez-

Hernandez is not charged in Count I, he is listed as an individual whom Torres-Laranega organized,
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supervised and managed during the course of a continuing criminal enterprise which is alleged to have

continued from June 8, 2002 to November 19, 2003.1 Also in the Fourth Superseding Indictment

under “Sentencing Factors,” Lopez-Hernandez is charged as being an organizer, leader, manager or

supervisor in the criminal activity described in Count II.

        On April 19, 2004, Lopez-Hernandez filed the instant motion. The government’s reply

followed on May 19, 2004. The Court held a hearing on October 7, 2004. At the conclusion of the

hearing, the Court took the motion under advisement. On November 3, 2004, Lopez-Hernandez filed

a supplement to the motion.

                                           DISCUSSION

I.      Severance of Defendants

        Rule 8(b) of the Federal Rules of Criminal Procedure states that two or more defendants may

be charged in the same indictment or information “if they are alleged to have participated in the same

act or transaction, or in the same series of acts or transactions, constituting an offense or offenses.”

The Supreme Court has made clear that “[t]here is a preference in the federal system for joint trials

of defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537 (1992). Joint

trials “promote efficiency and ‘serve the interests of justice by avoiding the scandal and inequity of

inconsistent verdicts.’” Id. (citation omitted). Accordingly, “[c]ourts generally adhere to the

principle that ‘those indicted together, especially co-conspirators, should be tried together.’” United


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          As part of the continuing criminal enterprise, Count I alleges the following: (1) possession
with intent to distribute approximately 1,417 net kilograms of marijuana on May 18, 2003 at the Las
Cruces U.S. Border Patrol checkpoint; (2) possession with intent to distribute 777 net kilograms of
marijuana in the vicinity of Gary, Indiana on July 14, 2003; (3) possession with intent to distribute
523 net kilograms of marijuana at 405 Cinecue Way, El Paso, Texas on August 7, 2003; and (4)
possession with intent to distribute 2,340 net kilograms of marijuana in a tractor trailer parked in the
1200 block of Tower Trail Lane, El Paso, Texas on September 12, 2003.

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States v. Peveto, 881 F.2d 844, 857 n.16 (10th Cir.) (citation omitted), cert. denied sub nom., Hines

v. United States, 493 U.S. 943 (1989).

        Rule 14(a) of the Federal Rules of Criminal Procedure, however, recognizes that joinder, even

where proper under Rule 8(b), may be prejudicial. Thus, Rule 14(a) provides for relief from

prejudicial joinder as follows:

        If the joinder of offenses or defendants in an indictment, an information or a
        consolidation for trial appears to prejudice a defendant or the government, the court
        may order separate trials of counts, sever the defendants’trials, or provide any other
        relief that justice requires.

Under Rule 14, the decision whether to grant a motion to sever is within the trial court’s sound

discretion. See United States v. Dirden, 38 F.3d 1131, 1140 (10th Cir. 1994). In making its

determination, the trial court must weigh the potential prejudice to the defendant against

considerations of judicial economy and efficiency. See id. “Rule 14 does not require severance even

if prejudice is shown; rather, it leaves the tailoring of the relief to be granted, if any, to the district

court’s sound discretion.” Zafiro, 506 U.S. at 538-39.

        A defendant seeking severance “must bear a heavy burden of showing real prejudice to his

case.” United States v. Petersen, 611 F.2d 1313, 1331 (10th Cir.), cert. denied, 447 U.S. 905

(1980). “Neither a mere allegation that defendant would have a better chance of acquittal in a

separate trial, nor a complaint of the ‘spillover effect’from the evidence that was overwhelming or

more damaging against a co-defendant than that against the moving party is sufficient to warrant

severance.” United States v. Morales, 108 F.3d 1213, 1219 (10th Cir. 1997) (citation omitted).

        In Zafiro, the Supreme Court held that severance should be granted under Rule 14 “only if

there is a serious risk that a joint trial would compromise a specific trial right of one of the



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defendants, or prevent the jury from making a reliable judgment about guilt or innocence.” Zafiro,

506 U.S. at 539. The Supreme Court provided examples of when such a risk might occur:

       Such a risk might occur when evidence that the jury should not consider against a
       defendant and that would not be admissible if a defendant were tried alone is admitted
       against a codefendant. For example, evidence of a codefendant’s wrongdoing in some
       circumstances erroneously could lead a jury to conclude that a defendant was guilty.
       When many defendants are tried together in a complex case and they have markedly
       different degrees of culpability, this risk of prejudice is heightened. Evidence that is
       probative of a defendant’s guilt but technically admissible only against a codefendant
       also might present a risk of prejudice. Conversely, a defendant might suffer prejudice
       if essential exculpatory evidence that would be available to a defendant tried alone
       were unavailable in a joint trial.

Id. (citations omitted). While noting that, where the risk of prejudice is high, the district court is

more likely to determine that separate trials are necessary, the Supreme Court stated that “less drastic

measures, such as limiting instructions, often will suffice to cure any risk of prejudice.” Id.

       A.      Need for Codefendant’s Testimony

       Severance may be appropriate where a defendant claims that he or she needs a codefendant’s

testimony. See Zafiro, 506 U.S. at 539 (holding that a defendant might suffer prejudice if essential

exculpatory evidence that would be available to a defendant tried alone were unavailable in a joint

trial). The Tenth Circuit has held that the court must consider seven factors in order to determine

whether a severance is appropriate on this basis:

       1) the likelihood that the codefendant would in fact testify at the movant’s severed
       trial and waive his Fifth Amendment privilege; 2) the significance of the testimony in
       relation to the defendant’s theory of defense; 3) the exculpatory nature and effect of
       such testimony; 4) the likelihood that the codefendant’s testimony would be
       impeached; 5) the extent of prejudice caused by the absence of the testimony; 6) the
       effect of a severance on judicial administration and economy; 7) the timeliness of the
       motion.

United States v. Martinez, 76 F.3d 1145, 1152 (10th Cir. 1996).



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       In the instant case, Lopez-Hernandez argues that his involvement in the alleged conspiracy

was limited to one or two isolated drug transactions and that his role in those transactions was of a

simple “worker bee.” Nonetheless, Lopez-Hernandez is charged with conspiracy in Count II of the

Fourth Superseding Indictment, is named in Count I as an individual whom codefendant Torres-

Laranega managed during the course of a seventeen-month, continuing criminal enterprise that

included at least four separate drug transactions, is charged with Conspiracy in Count III and is

charged with being an organizer, leader, manager or supervisor of the criminal transaction alleged in

Count II.

       At the motion hearing, counsel for Lopez-Hernandez, Joe Romero, represented that

codefendant Torres-Laranega made exculpatory statements about Lopez-Hernandez during his FBI

interview on November 19, 2003. Specifically, Mr. Romero stated that Torres-Laranega told the

agents that Lopez-Hernandez was involved in only one drug transaction and that, in connection with

that transaction, Lopez-Hernandez’s role was limited to loading boxes onto the back of a trailer and

arranging for the loading to occur at a radiator shop. Mr. Romero concluded that, if Torres-Laranega

were to testify to the information that he provided in his statement to the FBI, his testimony would

be exculpatory in that it would establish that Lopez-Hernandez was involved in only one transaction

and that his role in that transaction was not that of an organizer, leader, manager or supervisor.

According to Mr. Romero, at a joint trial, Torres-Laranega likely would invoke his Fifth Amendment

right and refuse to testify on Lopez-Hernandez’s behalf. For this reason, Mr. Romero argued,

severance of Lopez-Hernandez is warranted.

       At the motion hearing, counsel for Torres-Laranega, Marcia Milner, confirmed the statements

made by Mr. Romero. Specifically, Ms. Milner represented that she had spoken with her client and


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that he had indicated that he would be willing to testify on Lopez-Hernandez’s behalf at a separate

trial. Ms. Milner stated that the only condition would be that Lopez-Hernandez’s trial would have

to occur after the conclusion of Torres-Laranega’s trial and sentencing.

        At the motion hearing, the government did not dispute that severance of Lopez-Hernandez

would be proper to allow for Torres-Laranega to testify on Lopez-Hernandez’s behalf at a separate

trial. The government, however, stated that the proper course would have been for Lopez-Hernandez

to produce a properly authenticated affidavit sworn to by Torres-Laranega indicating what he would

say and that he was willing to testify at a separate trial. At that point, Mr. Romero stated that he had

prepared such an affidavit for signature by Torres-Laranega, had forwarded it to Ms. Milner and was

waiting to receive a signed original. The Court granted Mr. Romero leave to file the affidavit.

Thereafter, on November 3, 2004, Mr. Romero filed the supplement to his motion, attaching as

Exhibit A an affidavit sworn to by Torres-Laranega on October 3, 2004.

        Torres-Laranega’s affidavit states that he does not intend to waive his Fifth Amendment

rights. Further, the affidavit states that, in the event that he is tried separate from and before the trial

of Lopez-Hernadez, he intends to provide “exculpatory testimony as to co-defendant Edgar Lopez-

Hernandez regarding the charges pending against him.” In addition, the affidavit states that the

summary statement prepared by the FBI based on his November 19, 2003 interview “did not include

the exculpatory information [he] provided the FBI regarding co-defendant Edgar Lopez-Hernandez.”

        An evaluation of the seven factors set forth in Martinez establishes that a severance of Lopez-

Hernandez is warranted. First, Torres-Laranega’s affidavit establishes a strong likelihood that he in

fact will testify at Lopez-Hernandez’s trial. The waiver of his Fifth Amendment rights need not be

an issue, as Lopez-Hernandez can be tried after the conclusion of the trial of Torres-Laranega.


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Second, Torres-Laranega’s testimony would be significant, as it would tend to prove Lopez-

Hernandez’s contention that he was involved in only one transaction and that he had a minimal role

in that transaction. Third, such testimony would be exculpatory and might provide reasonable doubt

as to the charge that Lopez-Hernandez was an organizer, leader, manager or supervisor in one of the

alleged drug transactions. Fourth, the government has not provided any basis for the Court to believe

that Torres-Laranega’s testimony is likely to be impeached. Fifth, Lopez-Hernandez could be

prejudiced by the absence of Torres-Laranega’s testimony. Sixth, the Court does not find that the

effect of a severance on judicial administration and economy would be significant. Seventh, Lopez-

Hernandez filed his motion before the deadline set by the Court.

                                         CONCLUSION

       Lopez-Hernandez sufficiently has shown the necessity of codefendant Torres-Laranega’s

testimony for his defense. In order to allow for Torres-Laranega to testify on behalf of Lopez-

Hernandez, Lopez-Hernandez must be tried in a trial separate from and after the trial and sentencing

of Torres-Laranaga. Accordingly, severance of Lopez-Hernandez is warranted.




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         IT IS THEREFORE ORDERED that Defendant Lopez-Hernandez’s Motion to Sever

Defendants [Doc. No. 208] is hereby GRANTED.

         Dated this 1st day of December, 2004.




                                               MARTHA VÁZQUEZ
                                               CHIEF UNITED STATES DISTRICT JUDGE


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